    Case 0:19-cr-60280-CMA Document 33 Entered on FLSD Docket 11/19/2019 Page 1 of 6
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                                UM TED STATES DISTRICT COURT
                                SO UTH ER N D ISTRICT O F FLO R IDA

                                 CA SE N O .19-60280-C R -M zT ON A G A


      UM TED STATES OF AM ERICA

      VS.

      JEAN CART,OS SANCH EZ ROJAS,

                    Defendant.


                                          PLEA A GR EEM E N T

             TheUnitedStatesAtlorney'sOfficefortheSouthernDistdctofFlorida(KEtlzisOf5ce''land
      Jean CadosSanchezRojas(hereinafterreferredto asthe'çdefendanf')enterirltothefollowing
      agreenlent:

                    The defendantagreesto plead guilty to Cotmt 3 ofthe Indictm entcharging the

      defendantwithaviolationofTitle18,UnitedStatesCode,Section 542(EntryofGoodsbyM eans
      ofaFalseStatement). TheUnitedStatesagreestodismisstheremainingcotmtsatsentencing.
             2.     The defendantunderstandsand acknowledgesthat,asto Count3,the Courtm ay

      impose a stattztory m aximllm tenn of imprisonm ent ofup to 2 years and a term of supervised

      release ofup to 1 year. The defendanttmderstandsthatthe Courtm ay impose a fm e ofup to

      $250,000. Finally,thedefendanttmderstandsthata specialassessm entof$100willbeimposed
      payable atthe tim e ofsentencing.

             3.     The defendant is aw are that the sentence w ill be im posed by the Court after

      considering the advisozy Federal Sentencing Guidelines and Policy Statements (hereinafler
      lGsentencing Guidelines''). The defendantacknowledgesand understands thajthe Courtwill
     Case 0:19-cr-60280-CMA Document 33 Entered on FLSD Docket 11/19/2019 Page 2 of 6
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          com pute an advispry sentencetmderthe Sentencing Guidelinesand thatthe applicable gtiidelines

          willbedeterm inedbytheCourtrelyinginparton theresaltsofapre-sentencereportbytheCourt's

          probation office. The defendantis also aware that,undercertain circllm stances,the Cout'tm ay

          depat'tâom theadvisory sentencing guidelinerangethatithascomputed,and may raiseorlower

          that advisory sentence tmder the Sentencing Guidelines. The defendantis farther aware and
      '

          understandsthatthe Cotlrtisrequired to considerthe advisory gtlideline range determ ined under
                                         l               h

          the Sentencing Guidelines,butisnotbotmd to imposea sentencewithin thasadvisory range;the

          Courtispermitted totailortlzeuttimatesentencein lightofotherstamtory concems,and such
          sentencem aybeeitherm oresevereorlessseverethanthe Sentencing Guidelines'advisoryrange.

          Krlowingthesefacts,thedefendalltImderstandsand acu owledgesthattheCourthastheauthority

          toimposearly sentencewithin andup to thestatutorym axinrlm authorizedby 1aw fortheoffense

          identified inparagTaph 1atld thatthedefendantm ay notwithdraw thepleasolelyasaresultofthe

          sentence im posed.

                        '
                        fhis Office reservesthe rightto inform the Courtand the probation office ofa11

          factspertinenttothesentencingprocess,includingallrelevantinform ation concerningtheoffenses

          committed,whether chazged or not,as wellas concem in'g the defendant and the defendr t's

          backgrotmd. Subjectonlytotheexpresstermsofarly agreed-uponrecommendationcontainedin
          thisagreement,thisOfficefurtherreservestherighttom akeanyrecom mendation astothequality
          and quantity ofp lnishm ent.

                 5.     TheUnitedStatesagreesthatitwillrecomm end atsentencingthattheCotu'treduce

          by two levelsthe sentencing guideline levelapplicable to the defendant's offense,pursuantto

          Section 3E1.1(a) of the Sentencing Guidelines,based upon the defendant's recognition and
          nl rmative and timely acceptance ofpersonalresponsibili'
                                                                 ty. Ifatthe time ofsentencing the
    Case 0:19-cr-60280-CMA Document 33 Entered on FLSD Docket 11/19/2019 Page 3 of 6
i
z




      defendant's offense levelis determ ined to be 16 orgreater,the governmentwillfile a m otion

      requestin.g an additionalone leveldecrease pursuantto Section 3E1.1(b) ofthe Sentencing
      Guidelines,statingthatthedefendanthasassisted authodtiesin theinvestigation orprosecution of

      the defendant's own xnisconductby tim ely notifying authoritiesofthe defendant's intention to
                                                                                             .     /
                                                                                                   .
      enterapleaofgt
                   zilty,therebyperm ittingthegovernmenttoavoidpreparingfortrialandpermltting

      thegovernm entand the Courtto allocatetheirresourcesefficiently. TheUnited States,however,
                                                                                 '
                 ,


      willnotberequiredtomakethismotion andtheserecommendationsifthedefendant:(1)failsor
      refuses to m ake a 1 11, accurate and complete disclosure to the probation office of the

      cizcplmstancesstuw undingtherelevantoffenseconduct;(2)isfotmdtohavemisrepresentedfacts
      tothegovernmentpriortoenteringintothispleaagreement;or(3)commitsanymisconductafter
      signing thisplea ap eem ent,including butnotlimited to cömmitting a state or federaloffense,
                                                                          '
                                              jj
      violating any term of release, or m nklng false statem ents or misrepresentations to atly
             l                          ,



      governm entalentity orofficial.

             6.      The defendantisawarethatthesentencehasnotyetbeen determinedbytheCouft.
      Thedefendantalsoisawarethatany estimateoftheprobablesentencingrangeorsentencethatthe

      defendant m ay receive, whether that estim ate com es front the defendanfs attôrney, the

      government,orthe probation office,is a prediction,nota promise,and is notbinding on the

      government,the probation office or the Court. The defendanttmderstands further that any

      recomm endationthatthegovernmentm akestotheCourtastosentencing,whetherpursuanttothis

      agreei ent or othem ise, is not binding on the Court and the Court m ay disregazd the

      recom mendation in its entirety. The defendantlm derstands and acknow ledges,as previously

      acknowledged inparagraph 3 above,thatthedefendantmay notwithdzaw hispleabased uponthe
     Case 0:19-cr-60280-CMA Document 33 Entered on FLSD Docket 11/19/2019 Page 4 of 6
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       Cotufs decision hot to accept a sentencing reconnm endation m ade by the defendant, the
                                                             h
       government,orarecommendationmadejointly byboththedefendantandthegovernment.
              7.     Tllis Office mld the defendantagree that,although notbinding on theprobation '

       ofliceortheCouzt theywilljointlyrecommendthattheCourtmakethefollowingEndingsand
               /

       conclusionsastotheguidelinecalculation in thiscase:

              @ BaseOffenseLevel: 4. U.S.S.G.j2T3.1.
              * AcceptanceofResponsibilitv:

              TotalO ffense Level:

              8.     Oh N ovember 18,2019,co-defendant Victor Fossi Grieco entered into a plea

       àgreementin which he agreed to the forfeiture ofapproxim ately 230 polm dsofgbld'recovered

       f'
        rom themetalcompartmentofthenose ofprivatejetYV3325 on September20,2019 (the
       RForfeited Go1d''). Thedefendantagreesthathew111notfileathird-party clnim pttrsuantto21
       U.S.C.j853(n),inanindividui oranyothercapacity,astotheForfeited Gold.
                    Deikndantrecogrlizesthatpleadingguiltymayhaveconsequencçswithrespectto
       thedefendant'simm igration stattzsifthe defendantisnota citizen oftheUnited States. Under

       federal law,a broad range of crim es are rem ovable offenses,including the offense to which

       defendantispleàdingguilty. Removaland otherimnnigration consequencesarethesubjectofà.
       separateproceeding,however,and defendantunderstandsthatno one,including the defendant's

       a'
        ttorney orthe Cotut can predictto a certainty the effed ofthe defendant's conviction on the
                                                                                 :'

       defendant'simmigration status. D efendantneverthelessat-
                                                              firm sthatthedefendantwàntstoplead

       guilty regardless of any immigration consequencesthatthe defendant'splea may entail,even if

       theconsequenceisthedefendant'sautomaticrem ovalfrom theUnited States.
    Case 0:19-cr-60280-CMA Document 33 Entered on FLSD Docket 11/19/2019 Page 5 of 6
j




             10.    The defendantis aw are thatTitle 18,United States Code,Section 3742 and Title

      28,Urlited StatesCode,Section 1291affordthedefendanttherightto appealthesentenceimposed

      1.
       11tlliscase. Acknowledgingthis,in exchange.forthetmdednkingsm ade bytheUnited Statesitl

      thispleaagreem ent,the defendanthereby waivesal1rightsconferred by Sections3742 and 1391
      to appealatzy sentenceimposed,including any restitution order,orto appealthem nnnerin which

      thesentencewasimposed,llnlessthesentenceexceedsthemaximllm permittedby statuteoristhe

      resultofan upward departure and/oraxlupward variance from the advisory glzideline range that

      the Cout'testablishesatsentencing.

                    The defendantfurthertmderstandsthatnothing in this agreem entshallaffectthe

      government'sright and/or duty to appealas setforth illTitle 18,United States Code,Section
                l
      3742(1$ and Title28,Ullited StatesCode,Section 1291. However,iftheUnited Statesappeals
      thedefendant'ssentencepursuantto Sections3742(1$ and 1291,thedefendantshallbereleased
      âom the above waiver of appellate rights. By signing this agreement, the defendant

      acknowledgesthatthedefendanthAsdiscussed theappealwaiversetfol'th in thisagreem entwith

      the defendant's attorney.
Case 0:19-cr-60280-CMA Document 33 Entered on FLSD Docket 11/19/2019 Page 6 of 6




           12.   This is the entke agreement and lmderstanding between this Office and tùe
  defeédant. Thereareno otheragreements,prornises,representations,or'understandings.

                                           ARIANA FAJAO O ORSHAN
                                           U N ITED STA TES A TTORN EY


  o ate,     tIJrr((h               By:
                                              NUCHA EL N .BERG ER
                                              ASSISTU T UNITED STATES ATTORNEY - -


  oate: // 1                        By:
                                              JO     P R EN BA U M
                                                   TORN EY FOR D EFEN DA N T

                                                                     -

  Date:      l( /                      .



                                              JEAN CARLOSSANCHEZROJAS
                                              DEFEN DA N T
